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                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF PUERTO RICO

DR. JOSÉ DÍAZ-CASILLAS, et al.,

      Plaintiffs,

                    v.                         Civil No. 17-1152 (FAB)

DOCTORS’ CENTER          HOSPITAL    SAN
JUAN, et al.,

      Defendants.



                              OPINON AND ORDER

BESOSA, District Judge.

     On September 12, 2018, the Court continued the trial pending

the disposition of four motions in limine.                 (Docket No. 95.)

Plaintiffs José Díaz-Casillas (“José Díaz”), Olga Díaz-Casillas

(“Olga     Díaz”)     and   Rosa    Luz    Ramos   (“Ramos”)   (collectively,

“plaintiffs”) move to exclude the deposition transcripts of Katia

Dávila-Díaz (“Dávila”) and Kenneth Miller (“Miller”).                  (Docket

Nos. 66 and 67.)         The plaintiffs also move to preclude defendants

Doctors’     Center      Hospital   San    Juan,   Inc.   (“Doctors’    Center

Hospital”) and José Pesquera-García (“Pesquera”) (collectively,

“defendants”) from calling expert witnesses at trial.                  (Docket

No. 65.)    The defendants move to exclude expert testimony by José

Díaz and Boris Rojas (“Rojas”), testimony by Dávila and Iris

González (“González”), and a “Day in the Life” video of Zoraida

Díaz-Casillas (“Zoraida Díaz”).            (Docket No. 53.)
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        For the reasons set forth below, the plaintiffs’ motion to

preclude the defendants from calling expert witnesses at trial is

MOOT. (Docket No. 65.) The plaintiffs’ motions to preclude Miller

and Dávila’s deposition transcripts are DENIED.                   (Docket No. 66

and 67.)      The defendants’ motion in limine is GRANTED IN PART and

DENIED IN PART.        (Docket No. 53.)

I.      Background 1

        This medical malpractice litigation stems from a purported

misdiagnosis.       (Docket No. 1.)     On February 12, 2016, Zoraida Díaz

became ill with jaundice and developed a skin condition.                  Id. at

p. 4.     González drove Zoraida Díaz to the Centro de Diagnóstico y

Tratamiento in Carolina, Puerto Rico.             Id. at p. 4.        A complete

blood      count   exam    revealed    that    Zoraida     Díaz     possessed   a

“critical[ly] low value of platelets at 13,” in addition to low

levels of red bloods cells, hemoglobin, and hematocrits.                  Id. at

p. 5.      Zoraida Díaz sent text messages with photos of her skin

condition to her brother José Díaz, who is a neurologist in

Houston, Texas. Id.         José Díaz urged Zoraida Díaz to be “evaluated

by a hematologist emergently.”          Id.

        The Centro de Diagnóstico y Tratamiento transferred Zoraida

Díaz to the Doctors’ Center Hospital.              Id.     Her transfer sheet



1   The following allegations derive from the complaint.   See Docket No. 1.
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indicated that she had “petequiae in her mouth and lips and

petequiae    and    hematomas      on    her   extremities.”       Id.       González

accompanied       Zoraida   Díaz    in    an   ambulance    to    Doctors’     Center

Hospital.     Id. at p. 6.

       Doctors’ Center Hospital triaged Zoraida Díaz an hour after

her arrival, classifying her as “urgent” rather than “emergency.”

Id.   The triage nurse noted that Zoraida Díaz’s skin condition was

“normal.” Id. The emergency room physician, Toru Hashida-Kurihara

(“Hashida”), evaluated Zoraida Díaz.                Id.    She informed Hashida

that José Díaz “believed her petechiae, hematomas and laboratory

values presented an emergency medical condition.”                      Id. at p. 7.

Hashida consulted with Pesquera, a hematologist.                       Id.   Pesquera

prescribed    one    unit   of     platelets     and   a   corticosteroid.        Id.

According to the plaintiffs, Pesquera did so without obtaining

results    from    diagnostic      tests,      including   “a    peripheral     blood

smear, an LDH test, and an ADAMTS 13 test.”                     Id. at p. 8.      The

plaintiffs maintain that these tests are necessary to distinguish

between “TTP and ITP,” both of which are blood-related diseases.

Id.    Pesquera diagnosed Zoraida Díaz with ITP.                 Id.

       The plaintiffs allege that blood smears are “ordered on a

regular basis when a person is being treated or monitored for a

blood cell-related disease.”             Id.     Zoraida Díaz received a blood
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smear four days after arriving at Doctors’ Center Hospital.                    Id.

at p. 9.      The blood smear “yielded a value of 5805 when the

hospital’s reported accepted range is between [] 313—618.”                     Id.

Subsequently,     Zoraida     Díaz’s      sight   diminished,      she       became

incoherent and lost control of her extremities.                  Id.     Pesquera

ordered a Head CT scan, which “indicated that the images were

deteriorated     by     the   patient’s       motion,    aggressiveness        and

disorientation.”       Id. at p. 11.

      Pesquera subsequently altered his diagnosis.               Id. at p. 11.

He   concluded   that    Zoraida   Díaz      suffered   from   TTP.    Id.      The

plaintiffs aver that the “administration of platelets to a patient

with TTP is contraindicated because it causes thrombi or blood

clots, which can be life threatening.”            Id. at p. 8.    The standard

TTP treatment includes a “plasmapheresis or, in the alternative,

a plasma transfusion.” Id. at p. 11. The Doctors’ Center Hospital

did not administer a plasmapheresis or a plasma transfusion. Id.

If left untreated, TTP “can be fatal or cause lasting damage, such

as brain damage or stroke.”            Id.     Zoraida Díaz transferred to

another    hospital      in   Puerto      Rico,    where   she     received      a

plasmapheresis.       Id. at p. 12.

      The plaintiffs allege that Zoraida Díaz sustained “permanent

ischemic damage,” after which point her family transported her to
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Texas for additional medical treatment.            Id.   José Díaz visited

Zoraida Díaz in Texas daily, at times as her attending physician.

Id. at p. 16.       She remains in a “permanent vegetative state,

completely incapacitated and unable to do anything for herself,

even speak.”      Id. at pp. 12—13.         At the time of her alleged

misdiagnosis, Zoraida Díaz was 60 years old and “had no physical

limitations.”     Id. at p. 14.

      On February 7, 2017, José Díaz, Olga Díaz and Ramos commenced

this civil action.      (Docket No. 1.) 2      The plaintiffs are Zoraida

Díaz’s siblings.     Id. at p. 2. 3   The complaint sets forth a medical

malpractice cause of action pursuant to the Puerto Rico General

Torts Statue, Articles 1802 and 1803 of the Civil Code (“Articles




2 Zoraida Díaz, her daughter Dávila, and other family members commenced a

parallel civil action in the Puerto Rico Court of First Instance, San Juan
Superior Division. (Docket No. 53 at p. 2; see Dávila-Díaz v. Doctors’ Center
Hospital San Juan, Civil No. 2017—1881.)

3  The plaintiffs invoke this Court’s diversity jurisdiction, alleging complete
diversity of citizenship among the parties, and that the amount in controversy
exceeds $75,000. Docket No. 1 at p. 1; citing 28 U.S.C. § 1332. José Díaz and
Ramos reside in Texas.      (Docket No. 1 at p. 2.)      Olga Díaz resides in
Pennsylvania.   Id.   Doctors’ Center Hospital is a corporation incorporated
pursuant to the laws of Puerto Rico, and maintains its principal place of
business in Puerto Rico. Id. Pesquera practices medicine in Puerto Rico. Id.
The plaintiffs seek $3,000,000 in damages. Id. at p. 34. The Court is satisfied
that, based on the allegations set forth in the complaint, diversity
jurisdiction exists in this civil action.
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1802 and 1803”).     Id. at pp. 16—31; see Laws of P.R. Ann. tit. 31

§§ 5141, 5142. 4

     The     complaint    names    five    defendants:     Doctors’     Center

Hospital,    Pesquera,    Hashida,     Guardian   Insurance      Company,   Inc.

(“Guardian Insurance”), and Sindicato de Aseguradores para la

Suscripción    Conjunta    de   Seguro    de   Responsibilidad     Profesoinal

Médico-Hospitalaria       (“SIMED”).      Id.      The   Court    granted   the

plaintiffs’ motions to dismiss the complaint without prejudice as

to Guardian Insurance and SIMED.         (Docket Nos. 15 and 30.)      Hashida

failed to answer the complaint, despite several attempts to serve

process on him personally and by publication.            See Docket Nos. 18,

20, 26—28.     On June 5, 2017, the Clerk entered default against

Hashida.    (Docket Nos. 33 and 34.)           Accordingly, Doctors’ Center

Hospital and Pesquera are the only remaining defendants in this

litigation.     The parties filed four motions in limine.              (Docket

Nos. 53, 65, 66 and 67.)        The Court continued trial to adjudicate

these motions.     (Docket Nos. 82 and 95.)




4 The Court applies Puerto Rico tort law to this diversity suit. See Quality
Cleaning Prod. R.C., Inc. v. SCA Tissue N. Am., LLC, 794 F.3d 200, 204 (1st
Cir. 2015) (“Federal courts sitting in diversity apply the substantive law of
the state and, pursuant to statute, Puerto Rico is treated as a state for
diversity purposes.”).
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II.    The Plaintiffs’ Motions in Limine

       The   plaintiffs    filed    three    motions   in   limine.      (Docket

Nos. 65, 66 and 67.)         José Díaz, Olga Díaz and Ramos seek to

preclude the Doctors’ Center Hospital and Pesquera from presenting

expert testimony at trial, and from using the transcripts from

Dávila and Miller’s depositions.            Id.   For the reasons sets forth

below, the plaintiffs’ motions in limine are either MOOT or DENIED.

       A.    Motion to Preclude Expert Testimony

             The plaintiffs move to preclude the defendants from

calling expert witnesses at trial.            (Docket No. 65.)        José Díaz,

Olga Díaz and Ramos argue that “[n]either defendant announced any

. . . experts and provided no reports in a timely fashion and must,

thus, be precluded from using any expert witnesses at trial in

this case.”     Id. at p. 3.       In their opposition to the plaintiffs’

motion in limine, the Doctors’ Center Hospital and Pesquera clarify

that “there is no designation by either defendant that they would

be using an expert in this case.”                 (Docket No. 76 at p. 2.)

Accordingly, the plaintiffs’ motion to preclude the defendants

from calling expert witnesses at trial is MOOT.

       B.    Motion   to     Preclude       Kenneth    Miller’s       Deposition
             Transcript

             José Díaz, Olga Díaz and Ramos designated Kenneth Miller

as an expert witness.         (Docket No. 58 at p. 34.) Miller is a
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hematologist and will “testify regarding the breaches in [the]

standard of medical care by Co-Defendants, as described in his

expert     report    and   explained    in   his   deposition.”      Id.     The

defendants deposed Miller on May 16, 2018.                (Docket No. 66 at

p. 1.) 5   The plaintiffs invoke Federal Rule of Civil Procedure 30

(“Rule     30”),    claiming   that    the   Doctors’   Center    Hospital   and

Pesquera failed to timely Miller’s deposition transcript timely.

(Docket No. 66 at p. 2.)         Rule 30 provides that:

      On request by the deponent or a party before the
      deposition is completed, the deponent must be allowed 30
      days after being notified by the deponent officer that
      the transcript or recording is available in which: (A)
      to review the transcript or recording; and (B) if there
      are changes in form or substance, to sign a statement
      listing the changes and the reasons for making them.

Fed. R. Civ. P. 30(e)(1) (emphasis added). 6            The Court may impose

sanctions for failure to comply with Rule 30. See Perkasie Indus.,

Corp. v. Advance Transformer, No. 90-7359, 1992 U.S. Dist. LEXIS

22431 *13 (E.D. Pa. June 11, 1992) (“Although there is no express

language in Fed. R. Civ. P. 30(e) authorizing the imposition of



5 The plaintiffs’ motion in limine states that Miller’s deposition occurred on
June 16, 2018. (Docket No. 66 at p. 1.) The defendants, however, maintain
that “the deposition of doctor Miller was taken on May 16, 2018.”        (Docket
No. 77 at p. 3.) Indeed, José Díaz, Olga Díaz and Ramos acknowledge that the
defendants’ deposed Miller on May 18, 2018 in the joint proposed pretrial order.
(Docket No. 58 at p. 35.) Accordingly, the Court construes the plaintiffs’
reference to June 16, 2018 as a typographical error.

6In the context of Rule 30(e), the “officer” is the court reporter. See Holland
v. Cedar Creek Mining, Inc., 198 F.R.D. 651, 653 (S.D.W. Va. 2001).
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sanctions for violations of the rules (compare Fed. R. Civ. P.

37(b)), I am satisfied that the court has the inherent power to do

so.”).

              José Díaz, Olga Díaz and Ramos misinterpret Rule 30.

They refer to date of Miller’s deposition, not the date in which

the   court    reporter   provided    notice   “that    the   transcript    or

recording [was] available.”          Fed. R. Civ. P. 30(e)(1); see EBC,

Inc. v. Clark Bldg. Sys., 618 F.3d 253, 266 (3d Cir. 2010) (“We

emphasize that Rule 30(e)’s thirty-day clock beings to run when

the party is notified by the court reporter that the transcript is

available for review, not when the party or deponent physically

receives the transcript from the court reporter.”) (citing cases). 7

Without reference to the date that the transcripts were available,

preclusion of the transcripts would be improper.

              The Court notes that Rule 30 allots litigants “30 days”

to review and “attach any changes” to the transcript.                 Fed. R.



7 See also Steven J. Inc., ex rel., Fenton v. landmark Am. Ins. Co., Case No.
14-474, 2015 U.S. Dist. LEXIS 80278 *18 n.10 (M.D. Pa. June 22, 2015) (denying
the plaintiff’s request to preclude deposition transcript in part because the
parties failed to cite the date in which the defendants “received notification
that their transcripts were available for review”); Superior Prod. P’ship v.
Gordon Auto Body Parts Co., No. 06-916, 2009 U.S. Dist. LEXIS 25889 *3 (S.D.
Ohio Mar. 12, 2009) (“Both parties’ memoranda focused on the question of when
the transcript was truly ‘available’ which, in turn, determines when the 30-
day period time limit for reviewing and making changes begins to run.”); Harvey
v. Tenneco, Inc., No. 98-7137, 2000 U.S. Dist. LEXIS 1694 *4 (N.D. Ill. Feb.
11, 2000) (“[T]he 30-day time limit is measured by submission to the court
reporter.”).
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Civ. P. 30(e)(2). The Doctors’ Center Hospital and Pesquera assert

that the plaintiffs received the transcript on August 22, 2018,

more than thirty days ago. (Docket No. 77 at p. 3.)                           It bears

emphasis that in seeking to preclude the Doctors’ Center Hospital

and    Pesquera     from   using    Miller’s     deposition      transcript,          the

defendants     do   not    identify    any    errors     in   form    or     substance.

(Docket No. 66.)

             Accordingly,     the     Court    DENIES    plaintiffs’         motion    to

preclude the Doctors’ Center Hospital and Pesquera from using

Miller’s deposition transcript.                In the interest of fairness,

however, José Díaz, Olga Díaz and Ramos are ORDERED to submit a

proposed errata sheet identifying any proposed change to Miller’s

deposition transcript no later than October 30, 2018.

       C.    Motion to       Preclude       Katia   Dávila-Díaz’s            Deposition
             Transcript

             José Díaz, Olga Díaz and Ramos move to preclude the

Doctors’     Center    Hospital       and     Pesquera    from       using    Dávila’s

deposition transcript pursuant to Rule 30.                (Docket No. 67.)            The

defendants deposed Dávila on November 14, 2017.                  Id. at p. 1.         The

parties stipulated that “Ms. Katia Dávila would have thirty (30)

days to examine his [sic] deposition, make any corrections to it,

after which term it would be deemed correct and signature waived.”

Id.    José Díaz, Olga Díaz and Ramos fail to specify when the court
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reporter provided notice that the transcript was available, or

whether the plaintiffs received the transcript.                 The absence of

this information prevents the Court from considering the merits of

the plaintiffs’ Rule 30 motion.              Tellingly, José Díaz, Olga Díaz

and    Ramos    fail   to    specify   any   errors   in   Davila’s    deposition

transcript.      Accordingly, the Court DENIES the plaintiffs’ motion

to    preclude    the       defendants   from    using     Dávila’s    deposition

transcript.       Again, the Court ORDERS the plaintiffs to submit a

proposed errata sheet identifying any error contained in Dávila’s

transcript no later than October 26, 2018.

III. The Defendants’ Motion in Limine

       The Doctors’ Center Hospital and Pesquera move to exclude the

following evidence from trial: (1) expert testimony by José Díaz,

(2)    expert     testimony      by    Rojas,   (3)   testimony       by   Dávila,

(3) testimony by González, and (4) a “Day in the Life” video.

(Docket No. 53.) 8      The defendants’ motion in limine is GRANTED IN

PART with respect to expert testimony by José Díaz, and DENIED IN

PART with respect to expert testimony by Rojas, testimony from

Dávila, testimony from González, and the “Day in the Life” video.




8 The Court granted Pesquera’s requests to join the Doctors’ Center Hospitals’
motion in limine and responses in opposition to the plaintiffs’ motions in
limine. (Docket Nos. 54, 91, 92 and 93.)
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       A.   Testimony by José Díaz

            The       Doctors’   Center       Hospital     and   Pesquera     move     to

preclude José Díaz from testifying as an expert witness pursuant

to Federal Rule of Civil Procedure 26 (“Rule 26”).                    (Docket No. 53

at pp. 2—4.)      Because the plaintiffs failed to designate José Díaz

as an expert witness in violation of Rule 26, the defendants argue

that   preclusion       is   proper     pursuant     to    Federal    Rule    of    Civil

Procedure 37 (“Rule 37”). Id.                The Court agrees.

            José Díaz’s designation as a fact witness, an expert

witness,    or    a    hybrid    of    the    two   will   determine       whether    the

plaintiffs complied with Rule 26.               See Fed. R. Evid. 701, advisory

committee    note      (a    witness    may    “provide     both     lay   and     expert

testimony in a single case”); Ting Ji v. Bose Corp., 538 F. Supp.

2d 354, 359 (D. Mass. 2008) (holding that “the roles of fact
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witness    and    expert    witness     are   not    necessarily      mutually

exclusive”). 9

            1.    Federal Rule of Civil Procedure 26

                  Rule 26 governs the disclosure of witnesses.             Fed.

R. Civ. P. 26.       The purpose of Rule 26 is to prevent “trial by

ambush,” because opposing counsel cannot adequately cross-examine

without advance preparation.          Macaulay v. Anas, 321 F.3d 45, 50,

52 (1st Cir. 2003) (affirming the preclusion of evidence because

“[t]he record shows beyond the hope of contradiction that she had

ample time to conduct discovery and to submit her expert reports

within the period allotted by the district court”).              Parties must

disclose any potential fact witness “likely to have discoverable

information,” within 14 days after the Rule 26(f) conference. Fed.

R. Civ. P. 26(a)(1)(C).



9 Testimony by a lay witness is “rationally based on the perception of the

witness.” United States v. Flores de Jesús, 569 F.3d 8, 20 (1st Cir. 2009)
(citing Fed. R. Evid. 701). “Rule 26 uses the term expert ‘to refer to those
persons who will testify under Rule 702 of the Federal Rules of Evidence with
respect to scientific, technical, and other specialized matters.’” Gómez v.
Rivera Rodríguez, 344 F.3d 103, 113 (1st Cir. 2003). Pursuant to Rule 702, a
witness may provide expert testimony if doing so “will help the trier of fact
to understand the evidence or to determine a fact in issue.” Fed. R. Evid. 702;
see Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 592 (1993); see also
Kumho Tire Co. v. Carmichael, 526 U.S. 137, 147-49 (1999) (holding that Daubert
applies to technical and other specialized expert testimony as well as to
scientific testimony); Salas v. Carpenter, 980 F.2d 299, 305 (5th Cir. 1992)
(“Expert witnesses may perform two roles: explaining evidence to a jury, and
acting as the source of evidence for a jury.”). The Federal Rules of Evidence
prohibit lay witnesses from offering testimony regarding “topics that are beyond
the understanding of an average juror.” United States v. Williams, 827 F.3d
1134, 1156 (D.C. Cir. 2016).
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                    Expert     witnesses    are     subject     to    additional

disclosure     requirements.       Fed.    R.    Civ.   P.   26(a)(2).      Unless

otherwise ordered by the Court, parties must identify expert

witnesses “at least 90 days before the date set for trial or for

the case to be ready for trial.”                Id.; compare Downey v. Bob’s

Disc. Furniture Holdings, 633 F.3d 1, 5 (1st Cir. 2011) (“At its

most basic level, [Rule 26] obligates a party who wishes to offer

expert testimony to disclose ‘the identify of any witness it may

use at trial to present evidence under Federal Rules of Evidence

702, 703, or 705.”) (citation omitted), with Goldman v. Philips &

Son Drilling, Inc., No. 13-125,            2014 U.S. Dist. LEXIS 77970 *7

(D.W.    Va.   June   9,   2014)   (“Unlike      expert   witnesses    or   hybrid

witnesses, however, when a person is merely a fact, or lay witness,

Rule 26 of the Federal Rules of Civil Procedure only requires the

party to disclose the name, address and telephone number of each

witness.”).

                    Rule 26 also requires each party to supplement or

correct its disclosures “in a timely manner if the party learns

that    in   some   material    respect    the    disclosure    or   response   is

incomplete or incorrect.”          Fed. R. Civ. P. 26(3)(1)(A).             In the

event of an untimely disclosure, the movant “is not allowed to use

that information or witness to supply evidence on a motion, at a
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hearing, or at a trial, unless the failure was substantially

justified or is harmless.”        Fed. R. Civ. P. 37(c)(1).

             2.     Lay and Expert Testimony

                    To distinguish lay from expert testimony, courts

analyze “the essence of the proffered testimony.”                  Gómez, 344 F.3d

at 113.    “The line between expert testimony under [Federal Rule of

Evidence 702] and lay opinion under [Federal Rule of Evidence 701]

is not easy to draw.”         United States v. Ayala-Pizarro, 407 F.3d

25, 28 (1st Cir. 2005) (citation omitted) (holding that a police

officer qualified as a lay witness and expert witness, because he

possessed     ‘particularized    knowledge    .     .    .    by   virtue   of   his

position”); Castro-Medina v. P&G Commer. Co., 565 F. Supp. 2d 343,

361     (D.P.R.     2008)   (Pérez-Giménez,       J.)        (holding   that     the

distinction between a lay and an expert witness “lies in the nature

of the witness’s involvement in the case and the nature of the

testimony     the   parties   intend   for    the       witness    to   proffer”).

Accordingly, the content of José Díaz’s proposed testimony – not

his status as a plaintiff or as a neurologist - is dispositive.

             3.     Discussion

                    The Court initially set trial for September 10,

2018.    (Docket No. 22.)     On June 9, 2017, the parties filed a joint

case management memorandum.        (Docket No. 35.)           In the memorandum,
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the plaintiffs identified José Díaz as a “factual witness,” not an

expert witness.         Id. at pp. 25—26. 10      The plaintiffs expressed

their intention to elicit testimony from José Díaz regarding:

       His personal knowledge of the development of his
       sister’s condition and the events that transpired while
       she was receiving treatment in Texas. Will also testify
       about his sister’s current physical state, his own
       emotional pain and suffering, and the emotional pain and
       suffering he witnessed in his niece and nephew, now main
       caretakers of his disabled sister.

Id. at p. 25 (emphasis added).           The Court ordered the parties to

disclose and exchange the names and CV’s of experts by July 7,

2017.        (Docket No. 36.)        The defendants deposed José Díaz on

January 26, 2018.       (Docket No. 68, Ex. 1)

                     Seven months later and seventeen days before trial

was    set    to   commence,   the   parties   submitted   a   joint   proposed

pretrial order on August 20, 2018.              (Docket No. 58.)       In this

order, the plaintiffs listed José Díaz as a fact witness and an

expert witness.        Id. at pp. 32 and 35.      The plaintiffs disclosed

José Díaz as an expert witness regarding:

       Zoraida Díaz Casillas’ past as well as her current
       physical and neurological state. Will also testify as
       to the endeavors he took and the medical care he provided


10 José Díaz, Olga Díaz and Ramos initially designated three experts: (1) a
“Hematologist expert on negligence,” (2) a life care plan expert, and (3) an
economic expert. (Docket No. 35 at p. 26.) Prior to the joint case management
memorandum, the plaintiffs identified José Díaz as witness with “knowledge of
his emotional damages and of Zoraida Díaz Casillas’s physical condition.”
(Docket No. 53, Ex. 1 at p. 1.).
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      Zoraida while she was in Texas and in P.R. after the
      incident subject of this case.

Id. at p. 35. 11

                   a.   José Díaz is a Percipient Fact Witness

                        No party disputes that José Díaz is a lay

witness.    He may testify regarding his personal knowledge of the

events that transpired before and after Zoraida Díaz’s alleged

misdiagnosis in accordance with the Federal Rules of Evidence.

The plaintiffs assert, however, that evidence concerning “the

medical care [José Díaz] provided Zoraida while she was in Texas

and in P.R.” constitutes expert testimony.               (Docket No. 58 at

p. 35.)    The Court disagrees.

                        José    Díaz’s    experience      as   his    sister’s

treating physician qualifies him to testify as a percipient fact

witness, not as an expert witness.            “[A] percipient witness who

happens to be an expert” is not necessarily an expert witness



11The plaintiffs also modified the description of José Díaz as a fact witness.
(Docket No. 58 at p. 32.) The joint proposed pretrial order provides that José
Díaz:

      Will testify as to his close relationship with his sister, Zoraida
      Díaz Casillas and his emotional damages he has suffered as a result
      of the medical malpractice.    He will testify as to Zoraida Díaz
      Casillas’s medical condition as well as his participation in trying
      to ensure she obtain proper care at Doctor’s Hospital and subsequent
      treatment in PR and Texas. His knowledge as a neurologist gives
      him particular insight as to his sister’s pain and suffering which,
      in turn, affects his own.

Id. at p. 32.
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within the meaning of Rule 26.       Gómez, 344 F.3d at 113 (citing

Fed. R. Evid. 702) (holding that although “Pinot obviously had

specialized knowledge by virtue of his position,” the defendants

“need not identify [him] as an expert so long as [he] played a

personal role in the unfolding of the events at issue and the

anticipated questioning seeks only to elicit [his] knowledge of

those events”); see Downey, 633 F.3d at 6 (“[W]here, as here, the

expert is part of the ongoing sequence of events and arrives at

his causation opinion during treatment, his opinion testimony is

not that of a retained or specially employed expert.”).        Testimony

that is “based on personal knowledge acquired before any litigation

had begun” is not expert testimony.          Id.   (noting that “courts

have followed the advisory committee’s lead and ruled that a

treating physician, testifying as to his consultation with or

treatment of the patient, is not an expert witness for purposes of

Rule 26”).

                      The circumstances in González v. Executive

Airlines are analogous to this case. 236 F.R.D. 73 (D.P.R. 2006)

(Pieras, J.).     In González, the plaintiff disclosed that she

intended to call her treating psychiatrist as a lay witness.             Id.

The defendants objected, however, arguing that the psychiatrist

qualified as an expert witness.        Id.     The court rejected this
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proposition, holding that “a treating physician is an actor in the

actual narrative of the case.”          Id. at 76; see e.g., Torres-Rivera

v. Centro Médico Del Turano Inc., 215 F. Supp. 3d 202,, 205 (D.P.R.

2016) (Gelpí, J.) (“Dr. Ramdev will provide testimony arising from

his role as an actor in the events giving rise to litigation, and

is therefore appropriately viewed as a fact witness not subject to

Rule   26’s   requirements    for      expert   witnesses.”)   (citation   and

internal quotation marks omitted); Hadley v. Pfizer, Inc., No. 08-

1440, 2009 U.S. Dist. LEXIS 47363 *11—12 (E.D. Pa. June 4, 2009)

(“The Court agrees that a treating physician may testify as a fact

witness, pursuant to Rule 701, so long as the treating physician’s

testimony     is   ‘not   based   on    scientific,   technical,   or   other

specialized knowledge within the scope of Rule 702.”) (citation

omitted).      Because the testimony provided by the plaintiff’s

psychiatrist concerned only “the facts known to him during the

course of the care and treatment of the patient,” the disclosure

requirements pursuant to Rule 26 did not apply.            Id. at 78.

                          Like the physiatrist in González, José Díaz

served as Zoraida Díaz’s treating physician, attending to his

sister’s care in Houston. (Docket No. 68 at p. 11 and 20.)                 The

plaintiffs misconstrue evidence concerning “the endeavors that

[José Díaz] undertook and the medical care he provided Zoraida
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while she was in Texas and in P.R.” as expert testimony.          (Docket

No. 68 at p. 11.)     This testimony is factual in nature.     José Díaz

served as his sister’s treating physician before this litigation

commenced.    He is “an actor with regard to the occurrences from

which the tapestry of the lawsuit was woven.”         Gómez, 44 F.3d at

113.    Indeed, the plaintiffs concur that José Díaz acted as a

“treating physician.”      Id.   Accordingly, José Díaz may testify

regarding the treatment he provided Zoraida Díaz as a percipient

fact witness.

                 b.    José Díaz as an Expert Witness

                       The plaintiffs seek to elicit expert testimony

from José Díaz regarding “Zoraida Díaz Casillas’ past as well as

her current physical and neurological state.”         (Docket No. 58 at

p. 35.)    According to the plaintiffs:

       [A]s an expert in Neurology [. . .] his testimony would
       further help to understand the permanent state of her
       damages as a result of defendants’ malpractice and
       further help them understand why him, as a physician
       with specialized knowledge of her current condition, has
       suffered immensely in knowing the state of alertness,
       pain, helplessness and suffering her [sic] sister is
       experiencing as a result of having been left in a
       ‘locked-in’ state following defendants’ negligent acts.

(Docket No. 68 at p. 13.)

                       Testimony concerning Zoraida Díaz’s physical

and neurological state may require “scientific, technical, or
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other specialized knowledge” pursuant to Federal Rule of Evidence

702.    (Docket No. 58 at p. 35.)             By designating José Díaz as an

expert witness, plaintiffs trigger the disclosure requirements set

forth in Rule 26(a)(2). The Court ordered the parties to “disclose

and exchange the names and CVs of experts by [July 7, 2017].”

(Docket No. 36.)       The plaintiffs concede that they violated this

deadline, affirming that it was not until August 2, 2018 that the

“Plaintiffs listed [José Díaz] as both a fact witness and an expert

witness    who   was   also    one    of   Zoraida    Díaz    Casillas’     treating

physicians.”     (Docket No. 68 at p. 10) (emphasis added).

                         The    exclusion      of    José    Díaz   as    an   expert

witness is an appropriate and warranted sanction. Rule 37 requires

exclusion unless the party facing sanctions establishes that the

failure to comply was justified or harmless.                  Wilson v. Bradlees

of   New   England,    Inc.,    250    F.3d    10,    20-21    (1st    Cir.    2001).

Exclusion is a compelling impetus to follow the Federal Rules of

Civil Procedure and the schedule set by the Court.                    See Thibeault

v. Square D Co., 960 F.2d 239, 245 (1st Cir. 1992).                      Introducing

“new expert testimony on the eve of trial” can prejudice the

opposing party, and will not be admitted without good cause.                      Id.

at 247.     “Rules 26(a) and 37(c)(1) seek to prevent the unfair

tactical advantage that can be gained by failing to unveil an
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expert in a timely fashion.”              Poulis-Minott v. Smith, 388 F.3d

354, 358 (1st Cir. 2004) (citing Thibeault, 960 F.2d at 244).

                             The Court may forgo sanctions for untimely

disclosures      upon    a     finding    of    substantial        justification   or

harmlessness.     See, e.g., id.          The Court must balance fairness to

the parties with the need to manage dockets, considering the

totality   of    the     circumstances,        such    as:   the    history   of   the

litigation,      the      need     for    the     challenged         evidence,     any

justifications, prior notice of the expert and the possibility of

designation, whether the testimony will be meaningfully different

from or cover the same areas as that of other experts, and the

ability of the opposing counsel to depose or cross-examine the

proposed expert.          Macaulay, 321 F. 3d at 51; see Ferrara &

DiMercurio v. St. Paul Mercury Ins. Co., 240 F.3d 1, 10-11 (1st

Cir. 2001).       A late disclosure is harmless if it “occurs long

before   trial     and    is     likely    subject      to   correction”      without

materially prejudicing the opposing party.                   Samos Imex Corp. v.

Nextel Communs., Inc., 194 F.3d 301, 305 (1st Cir. 1999); see

Ferrara & DiMercurio, 240 F.3d at 10.

                             This litigation commenced nearly two years ago

on February 2, 2017.          (Docket No. 2.)         The plaintiffs knew of José

Díaz’s existence and the expert testimony he could potentially
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offer because José Díaz is a plaintiff.         José Díaz sat for his

deposition on January 26, 2018, a year after the plaintiffs filed

the complaint.    (Docket No. 68, Ex. 1).          At the time of his

deposition, the plaintiffs identified José Díaz only as a fact

witness, and it is with this understanding that the defendants

deposed him.   See Docket No. 35 at p. 25.

                      In support of their contention that the Court

should allow José Diaz to testify as an expert, the plaintiffs

argue that the Doctors’ Center Hospital and Pesquera “had ample

opportunity to explore all aspects of Zoraida Díaz Casillas’

physical condition and his opinion as an expert in the Neurology

field.”   (Docket No. 68 at p. 3.)       The plaintiffs are mistaken.

The Doctors’ Center Hospital and Pesquera had no reason to explore

José Diaz’s opinions as a neurologist when they deposed him because

the plaintiffs had not designated him as a neurological expert

prior to that date.       The First Circuit Court of Appeals has

recognized that Rule 26 “require[s] formal disclosure for a reason;

without it, parties like the defendants in this case may be

hindered in their ability to prepare effectively for trial.”

Esposito v. Home Depot, U.S.A., 590 F.3d 72, 78 (1st Cir. 2009);

see Musser v. Gentiva Health Servs., 356 F.3d 751, 756—759 (7th

Cir. 2004) (affirming the district court’s decision “that the
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[fact] witnesses identified by the [plaintiffs] should not be

permitted to testify as expert witnesses” because “disclosing a

person as a [fact] witness and disclosing a person as an expert

witness are two distinct acts,” and the defendant “was denied the

opportunity to question the witnesses in their expert capacity”).

                      The plaintiffs named José Díaz as an expert

witness one month before the trial was set to commence, further

underscoring the prejudice resulting from the plaintiffs’ untimely

disclosure.   Ironically, José Díaz, Olga Díaz and Ramos seek to

preclude Doctors’ Center Hospital and Pesquera from calling expert

witnesses, because the defendants “did not disclose and exchange

names and CV’s of experts” by the July 7, 2017 deadline.          (Docket

No. 58 at p. 35.)       With great temerity, the plaintiffs assert

that the “[the Doctors’ Center Hospital and Pesquera] cannot

willfully disregard the Court approved deadlines and be allowed to

bring in expert witnesses many months after the passage of these

deadlines.”   Id. at p. 36.    Neither can José Díaz, Olga Díaz and

Ramos.   “A litigant who ignores a case-management deadline does so

at his peril.”   Rosario-Díaz v. González, 140 F.3d 312, 315 (1st

Cir. 1998) (affirming sua sponte dismissal of summary judgment

motion “[g]iven the baldness of the appellants’ transgressions,

the potential prejudice to the plaintiffs and to the orderly
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administration of the court’s docket caused by the late filings,

and the need to deter such conduct”).

                c.    Expert   Testimony     Regarding     José    Díaz’s
                      Emotional Damages

                      José Díaz may testify as to his emotional

damages without qualifying as an expert witness.           See Ricks v.

Abbot Labs., 198 F.R.D. 647, 649 (D. Md. 2001) (“A trier of fact,

however, does not need help understanding the ordinary grief,

anxiety, anger and frustration that any person feels when something

bad occurs.”). Expert testimony offered to establish a plaintiff’s

emotional distress is admissible, but not required.            Koster v.

TWA, 181 F.3d 24, 35 (1st Cir. 1999) (“Although testimony from a

mental health expert is not required to sustain an award for

emotional distress, the absence of such evidence is useful in

comparing the injury to the award of damages.”); see e.g., Méndez-

Matos v. Municipality of Guaynabo, 557 F.3d 36, 47 (1st Cir. 2009)

(“A plaintiff does not need to present expert testimony to recover

damages for emotional distress caused by the violation of his civil

rights.”) (citation omitted).      José Díaz need not qualify as an

expert in neurology to convey the extent of his emotional pain.
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                        The Court will allow José Díaz to testify as

a lay witness, but not as an expert. 12            As discussed below, the

plaintiffs may nonetheless elicit the testimony of Boris Rojas,

the neurologist whom they properly designated as an expert.                  The

defendants’ motion to preclude José Díaz from testifying as an

expert witness is GRANTED.

      B.    Testimony by Boris Rojas

            The    Doctors’   Center    Hospital    and   Pesquera    move    to

preclude Rojas from testifying as an expert witness.                   (Docket

No. 53 at p. 4—7.)         According to the plaintiffs, Rojas “will

testify that the TTP . . . caused the permanent Center Nervous

System damage, leaving [Zoraida Díaz] totally and permanently

incapacitated, but aware in a locked in condition.” (Docket No. 58

at p. 35.)        The defendants emphasize that Zoraida Díaz is not a

party to this litigation.        Because José Díaz, Olga Díaz and Ramos

seek damages for their own pain and suffering, the Doctors’ Center

Hospital and Pesquera contend that “discussion of [Zoraida Díaz’s]



12 Rule 26 requires that expert witnesses “retained or specially employed to
provide expert testimony in the case or one whose duties as the party’s employee
regularly involve giving expert testimony” submit a written report. Fed. R.
Civ. P. 26(a)(2)(B). This report must specify inter alia the expert witness’
qualifications and a “complete statement of all opinions the witness will
express and the basis and reasons for them.” Id. The Doctors’ Center Hospital
and Pesquera argue that José Díaz, Olga Díaz and Ramos failed to submit an
expert report. (Docket No. 53.) Because preclusion of José Díaz as an expert
witness is premised on the plaintiffs’ untimely disclosure, the Court need not
address whether the report requirement is applicable in this case.
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state of health in this case significantly impacts the likelihood

that the jury could be confused, misled, and entertains damages

claims that are not probative for the claims presented of pain and

suffering before this Court.” (Docket No. 53 at pp. 5—6.)                    The

Doctors’ Center Hospital and Pesquera cite Federal Rule of Evidence

403 (“Rule 403”), contending that Rojas’ proposed testimony will

“be unfairly prejudicial.”        Id. at p. 7.      The Court disagrees.

             1.   Federal Rule of Evidence 403

                  “Relevant evidence is admissible unless any of the

following provides otherwise:        the United States Constitution; a

federal statute; [the Federal Rules of Evidence]; or other rules

prescribed by the Supreme Court.”       Fed. R. Evid. 402.       “Irrelevant

evidence is not admissible.”          Id.     “Evidence is relevant if:

(a) it has any tendency to make a fact more or less probable than

it   would   be   without   the   evidence;   and    (b)   the   fact   is   of

consequence in determining the action.”          Fed. R. Evid. 401.          The

Federal Rules of Evidence “set a very low bar for relevance.”

United States v. Rodríguez-Soler, 773 F.3d 289, 293 (1st Cir. 2014)

(internal citation omitted).

                  Relevant evidence may be excluded, however, “if its

probative value is substantially outweighed by a danger of . . .

unfair prejudice.”      Fed. R. Evid. 403.       “In balancing the scales
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of Rule 403, it is important to note that only unfair prejudice is

to    be   avoided,    as   by    design,    all   evidence   is   meant   to   be

prejudicial.”        United States v. Morales-Aldahondo, 524 F.3d 115,

119    (1st   Cir.    2008)      (internal   quotation   marks     and   citation

omitted).      “Evidence is generally deemed unfairly prejudicial if

it has an undue tendency to prompt a decision by the factfinder on

an improper basis.”         United States v. Benedetti, 433 F.3d 111, 118

(1st Cir. 2005).

              2.     The Testimony that the Plaintiffs Intend to Elicit
                     from Boris Rojas is Relevant and Not Unduly
                     Prejudicial

                     The testimony that José Díaz, Olga Díaz and Ramos

intend to elicit from Rojas is relevant to the medical malpractice

claims set forth in the complaint.             (Docket No. 1.)      Pursuant to

Puerto Rico law, “individuals who are harmed because a close

relative or loved one is tortiously injured may invoke Article

1802 as a vehicle for prosecuting a cause of action against the

tortfeasor.”       Díaz-Nieves v. United States, 858 F.3d 678, 689 (1st

Cir. 2017) (citation omitted).           To prevail on a derivative medical

malpractice claim, the plaintiffs must demonstrate that: (1) they

suffered emotional harm, (2) their emotional harm resulted from

the defendants’ tortious conduct toward Zoraida Díaz, and (3) the
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defendants’ “conduct was tortious or wrongful.”                   Díaz-Nieves, 858

F.3d at 689.

                   José    Díaz,      Olga    Díaz        and    Ramos    may   seek

“compensation for the sufferings, emotional distress, or mental

anguish they experienced as a consequence of the material or other

damages caused directly to [Zoraida Díaz].”                Santana-Concepción v.

Centro Médico del Turabo, Inc., 768 F.3d 5, 10 (1st Cir. 2014)

(quoting Santini-Rivera v. Serv. Air., Inc., 137 D.P.R. 1 (1994).

Because “a cause of action under Article 1802 ‘is wholly derivative

. . . its viability is contingent upon the viability of the

underlying [claim].’”           Costa-Urena v. Segarra, 590 F.3d 18, 30

(1st Cir. 2009) (citation omitted); see Díaz-Nieves, 858 F.3d

at 689 (“Because, as previously discussed, the district court

correctly dismissed Joel’s claims, the derivative claims of his

relatives   were    also    properly    dismissed.”).            Accordingly,    the

plaintiffs’ medical malpractice claim is contingent on a finding

of negligence on the part of the defendants toward Zoraida Díaz.

See Méndez-Matos, 557 F.3d at 57 (holding that an Article 1802

claim   asserted    by    the   son   and    wife    of    a    falsely   imprisoned

individual “is derivative and depends on the viability of the

underlying claim of the relative or loved one”).
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                       Medical malpractice liability in Puerto Rico is

fault based.        Rodríguez-Díaz v. Seguros Triple-S, 636 F.3d 20, 23

(1st Cir. 2011).          Pursuant to Article 1802, “a person who by an

act    or   omission      causes      damage    to     another     through    fault     or

negligence shall be obliged to repair the damage done.”                       P.R. Laws

Ann. tit. 31, § 5141. “Within this rubric, three elements coalesce

to make up a prima facie case for medical malpractice (a species

of professional negligence).”             Martínez-Serrano v. Quality Health

Servs. of P.R., Inc., 568 F.3d 278, 285 (1st Cir. 2009).                       To prove

medical malpractice in Puerto Rico, a plaintiff must establish:

“‘(1) the duty owed (i.e., the minimum standard of professional

knowledge     and      skill   required    in    the       relevant   circumstances),

(2) an      act   or    omission      transgressing         that   duty,    and   (3)    a

sufficient causal nexus between the breach and the claimed harm.’”

Torres-Lazarini v. United States, 523 F.3d 69, 72 (1st Cir. 2008)

(citing Cortés-Irizarry, 111 F.3d at 189).

                       The Doctors’ Center Hospital and Pesquera attempt

to    isolate     Zoraida      Díaz    from     this    litigation,        placing    the

plaintiffs’ medical malpractice claim in a vacuum.                         The Court is

cognizant     that      Zoraida    Díaz   is    not    a    party.     The    purported

misdiagnosis of Zoraida Díaz, however, is relevant and integral to

the plaintiffs’ claims.            Testimony “that the TTP . . . caused the
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permanent Center Nervous System damage” is critical, particularly

with regard to the causation element of plaintiffs’ negligence

claim.    (Docket No. 58 at p. 35.)         This evidence is also material

to the emotional damages allegedly sustained by José Díaz, Olga

Díaz and Ramos.      The Doctors’ Center Hospital and Pesquera provide

no reason for the Court to conclude that the probative value of

Rojas’    proposed   testimony      is   substantially      outweighed    by   the

danger of unfair prejudice.              Accordingly, the Court DENIES the

defendants’ motion to preclude expert testimony by Rojas.

     B.     Testimony by Katia Dávila-Díaz

            The defendants move to preclude the testimony by Dávila

for two reasons.       (Docket No. 53 at p. 7.)             First, the Doctors’

Center    Hospital    and   Pesquera     contend     that    Dávila’s    proposed

testimony exceeds the scope of the plaintiffs’ Rule 26 disclosure.

Id. at p. 8.         Second, the defendants maintain that Dávila’s

proposed testimony “is an attempt by plaintiff to bring forth to

the jury the damages of Zoraida that certainly, if heard by the

jury, will certainly confuse the jury at the time of assessing the

award for damages of the federal plaintiffs.”                Id. at p. 9.

            The   parties    need    not    detail    with     specificity     the

testimony of potential fact witnesses pursuant to Rule 26.                     The

initial disclosure requirements mandate that parties name “each
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individual likely to have discoverable information — along with

the subject of that information – that the disclosing party may

use to support its claims or defenses, unless the use would be

solely for impeachment.”         Fed. R. Civ. P. 26(a)(1)(A)(i).             José

Díaz, Olga Díaz and Ramos stated that Dávila “has knowledge of

Zoraida Díaz Casillas’s treatment, condition and current physical

state.”     (Docket No. 53, Ex. 1 at p. 2.)             This disclosure is

sufficient pursuant to Rule 26.

            The plaintiffs also seek to elicit testimony from Dávila

concerning the “plaintiffs’ relationships past and present with

her mother as well as how her mother’s present condition has

affected them.”     (Docket No. 58 at p. 32.) 13 Whether this testimony

is relevant, not unduly cumulative, and is supported by a proper

foundation will be determined in the context of trial.




13José Díaz, Olga Díaz and Ramos initially provided a more extensive description
of Dávila’s proposed testimony, including:

      her personal knowledge of the development of her mother’s condition,
      her own, her brother’s, and her mother’s suffering while Zoraida
      was hospitalized and receiving negligent care, and the events that
      transpired while her mother was receiving treatment in Texas. Will
      also testify about her mother’s current physical state and her
      current medical requirements, the care she provides to her disabled
      mother daily, her own emotional pain and suffering, the economic
      losses that this has entailed for her family unit, including but
      not limited to the loss of her earnings outside of the home.

(Docket No. 35 at p. 25.) Because Dávila is not a party to this case, evidence
concerning Dávila’s emotional and economic damages is irrelevant. The emotional
pain endured by Dávila’s brother is also irrelevant.
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             The Court rejects the defendants’ contention that the

jury will award the “damages of Zoraida” to José Díaz, Olga Díaz

and Ramos.    (Docket No. 53 at p. 9.)         The Court will instruct the

jury that the plaintiffs are eligible only for damages arising

from their own emotional distress, not for the damages sustained

by Zoraida Díaz or Dávila. 14        Accordingly, the plaintiffs’ motion

to restrict Dávila’s testimony is DENIED.

      C.     Testimony by Iris González

             The   Doctors’   Center    Hospital    and   Pesquera     move   to

preclude    testimony    from    González,    the   woman    who   accompanied

Zoraida Díaz to the Doctors’ Center Hospital.               (Docket No. 53 at

pp. 7—9.)      The plaintiffs “have decided to waive the use of this

witness for trial.”       (Docket No. 68 at p. 18.)          Accordingly, the

defendants’ motion to preclude testimony by González is MOOT.




14Courts routinely instruct the jury to disregard the negligent acts or damages
committed and sustained by third parties. See Ponce v. Ashford Presbyterian
Cmty. Hosp., 238 F.3d 20—24 (1st Cir. 2001) (affirming the following jury
instruction: “Ashford may not be found liable for any damages which may have
been caused by the negligent acts or omissions of the treating physicians.
Plaintiffs may only recover damages against Ashford if they establish that the
injury suffered by baby Natalie Alicea Sánchez was proximately caused by
Ashford’s negligent acts or omissions”); DoCARMO v. F.V. PILGRIM I CORP., 612
F.2d 11, 13 (1st Cir. 1979) (finding “no error in the district court’s ruling
and jury instructions so limiting damages,” because “the deceased seaman’s
survivors are limited to recovering damages of a pecuniary nature”); Britton v.
Maloney, 981 F. Supp. 25, 55 n. 65 (D. Mass. 1997) (noting that the “instructions
specifically told the jury the limits on the plaintiff’s damage claims,
instructing to the jury that if they arrived at damages, they could consider”
only emotion distress).
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       D.     The “Day in the Life” Video

              The plaintiffs seek to introduce a “Day in the Life”

video into evidence. The video is approximately five minutes long.

(Docket No. 71.)       In the video, Zoraida Díaz is bed-ridden and her

body is stiff.       Id.    Dávila bends her mother’s fingers, arms, and

legs; changes her catheter; dries her hair; and performs what

appears to be visual therapy.           Id.   The defendants contend that

the video is unduly prejudicial “because it introduces a factor

into   the    case   that    might   encourage    the   jury    to   dislike    or

disapprove of the defendant independent of the merits.”                 (Docket

No. 53 at p. 14.)          According to the defendants, the “Day in the

Life” video will confuse the jury pursuant to Rule 403.                Id.     The

defendants’ arguments are unavailing.

              The Court possesses “broad discretion in ruling on the

admissibility of tape recordings, even where portions of the tapes

are unintelligible.”         United States v. Font-Ramírez, 944 F.2d 47

(1st   Cir.    1991)   (affirming     admission    of   video    footage     that

“place[d] Bouret and the defendants together in the apartment,

corroborating Bouret’s direct testimony”).              Video evidence “must

be judged under its own particular facts taking into account the

specific purposes for which this type of evidence is submitted.”

Szeliga v. Gen. Motors Corp., 728 F.2d 566, 567 (1st Cir. 1984);
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Farley   v.    United   States,   98   F.   Supp.   3d   299   (D.N.H.   2015)

(permitting the plaintiffs to admit a “day-in-the-life” video of

a stroke victim suffering from a “locked-in syndrome”); García-

Colón v. García-Rinaldi, No. 01-1571, 2006 U.S. Dist. LEXIS 86418

*39, 40 (D.P.R. Nov. 28, 2006) (Domínguez, J.) (granting motion to

introduce “the film A Day in the Life [of plaintiff] provided

proper safeguards are taken [and] the court is also to provide an

instruction as to the lighting of the film and any other potential

inflammatory matter”).

              The “Day in the Life” video of Zoraida Díaz is relevant

to the emotional distress experienced by the plaintiffs. The video

also provides corroborating evidence regarding the plaintiffs’

claim that Zoraida Díaz remains in a “permanent vegetative state.”

(Docket No. 1 p. 12.).      The Court carefully reviewed the video and

conducted a Rule 403 analysis.         The probative value of the video

is not substantially outweighed by the danger of unfair prejudice.

Before publication to the jury, the plaintiffs must properly

authenticate the video.       Accordingly, the defendants’ motion to

exclude the “Day in the Life” video is DENIED.

V.    Conclusion

      For the reasons set forth above, the plaintiffs’ motion to

preclude the defendants from calling expert witnesses at trial is
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Civil No. 17-1152 (FAB)                                                  36

MOOT. (Docket No. 65.) The plaintiffs’ motions to preclude Miller

and Dávila’s deposition transcripts are DENIED.          (Docket No. 66

and 67.)     José Díaz, Olga Díaz and Ramos are ORDERED to submit an

errata sheet identifying any proposed change to Kenneth Miller and

Katia Dávila’s deposition transcripts no later than October 30,

2018.   No extensions will be granted.      The defendants’ motion in

limine is GRANTED IN PART and DENIED IN PART.          (Docket No. 53.)

The pretrial conference and trial are set for February 15, 2019

and February 25, 2019, respectively, beginning at 9:00 a.m.              No

later than February 1, 2019, the parties may file an amended joint

proposed pretrial order, amended proposed voir dire questions and

amended proposed jury instructions in accordance with this Opinion

and Order.

     IT IS SO ORDERED.

     San Juan, Puerto Rico, October 23, 2018.


                                       s/ Francisco A. Besosa
                                       FRANCISCO A. BESOSA
                                       UNITED STATES DISTRICT JUDGE
